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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                        )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )       C.A. No. 22-1466-MN
                                               )
TESLA, INC.,                                   )
                                               )
               Defendant.                      )
                                               )


                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on October 5, 2023, the following document was served

on Tesla.AD@weil.com and the persons listed below in the manner indicated:

       1.    Plaintiff Autonomous Devices, LLC’s Notice of Subpoena to Andrej Karpathy

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Dated: October 9, 2023




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